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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 LUBBOCKDIVISION

  UNITED STATES OF AMERICA,
     Plaintiff,

                                                            NO.5:19-CR-116-03-H

  CHRISTOPHER DESHUN ROBINSON
  (3),
      Defendant.


                  ORDER ACCEPTING REPORT AND RECOMMENDATION
                     OF TTIE TINTIED STATES MAGISTRATE JUDGE
                            CONCER}[ING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry

 of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

 Concerning Plea of Guilty of the United States Magistrate Judge, and no objections thereto

 having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

 $ 636(bxl), the undersigrred District Judge is of the opinion that the Report and

 Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

 hereby accepted by the Court. Accordingly, the Court accepts the plea ofguilty and

 Defendant is hereby adjudged guilty.

         Sentence will be imposed in accordance with the Court's scheduling order.

         SO ORDERED.

         Dated November    7,^ 2019.


                                            J      S WESLEYHENDRIX
                                                    D STATES DISTRICT JUDGE
